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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


     ARNOLD R. DORMER, JR.,                                        Case No. 11-27934-PJD

            Debtor                                                 Chapter 11


 MOTION TO DETERMINE LOAN BALANCES OWED BY REORGANIZED DEBTOR
 TO SELENE FINANCE LP, AS ASSIGNEE OF WELLS FARGO HOME MORTGAGE



        Comes now Arnold R. Dormer, Jr., the Reorganized Dormer (“Dormer”), by counsel, and

moves the Court, pursuant to the terms of the Confirmed Plan of Reorganization, to determine

proper balances owed by Debtor to Selene Finance LP (“Selene”), as assignee of Wells Fargo

Bank, N.A. (“Wells Fargo”), and in support of his Motion, would show the Court as follows:

                                             FACTS

       1.      This Chapter 11 case was filed on August 5, 2011.

       2.      On January 27, 2012, Dormer filed his Second Amended Plan of Reorganization

(the “Plan”). Wells Fargo was listed as a creditor under Classes 153 and 155 of the Plan.

       3.      Wells Fargo filed certain objections to the Plan. With regard to the Class 153 Claim

secured by 4065 Knob, Memphis, Tennessee, Dormer and Wells Fargo resolved the objection by

making modifications to the treatment of the Class 153 claim as set forth in the Agreed Order

entered on August 29, 2012 [D.E. 653]. With regard to the Class 155 Claim secured by 4077

Knob, Memphis, Tennessee, Dormer and Wells Fargo resolved the objection by making

modifications to the treatment of the Class 155 claim as set forth in the Agreed Order entered on

August 29, 2012 [D.E. 658].

       3.      On August 30, 2012, the Court entered its Order Confirming Plan [D.E. 652].
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         4.     The effective date of the Plan was October 15, 2012.

         5.     Selene, as assignee of Wells Fargo, has failed to provide correct itemized statements

of the outstanding loan balances prior to the effective date of the Plan.

         7.     In spite of repeated communications requesting that Selene recognize the effect of

the confirmed Plan, adjust its records accordingly, and provide correct statements, it has failed to

do so.

         8.     The Reorganized Dormer moves the Court to compel Selene to comply with the

terms of the Agreed Orders and the Order Confirming Plan.

                WHEREFORE, Dormer prays that the Court make a determination that the principal

balance owed to Selene is as set out in the Agreed Orders resolving its Objections to Confirmation

as of the Effective Date and that all payments due under the Plan are current, that the Court compel

Selene to comply with the terms of the Agreed Orders and the Order Confirming Plan and provide

correct statements, and for such other relief to which he may be entitled.



                                             Respectfully submitted,

                                             BEARD & SAVORY, PLLC

                                             /s/ Russell W. Savory

                                             Russell W. Savory (12786)
                                             Attorney for Arnold R. Dormer, Jr.
                                             119 South Main Street, Suite 500
                                             Memphis, TN 38103
                                             901-523-1110



                                     CERTIFICATE OF SERVICE
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       I, Russell W. Savory, do hereby certify that a true and genuine copy of the foregoing pleading

has been served on following parties by electronic notice or U.S. Mail, this 2nd day of October, 2018:



Selene Finance
P.O. Box 422039
Houston, TX 77242-2039


                                             /s/ Russell W. Savory
                                             ____________________________________
                                             Russell W. Savory
